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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              ABERDEEN DIVISION


DEVDA DHARMPALSINH; AND
AARTI ZALA                                                                     PLAINTIFFS

v.                                                                   1:22CV154-SA-RP
                                                   CIVIL ACTION NO. _______________

SHRI HARI KRUPA, INC.; AND
MITUL PATEL, INDIVIDUALLY                                                   DEFENDANTS

                                     COMPLAINT
                                JURY TRIAL DEMANDED

       COME NOW the Plaintiffs, Devda Dharmpalsinh, and Aarti Zala, by and through

their counsel, Watson & Norris, PLLC, and file this action to recover damages for violations

of their rights under the Fair Labor Standards Act and for the tort of wrongful termination

against Defendants. In support of this cause, the Plaintiffs would show unto the Court the

following facts to-wit:

                                      THE PARTIES

       1.      Plaintiff, Devda Dharmpalsinh, is an adult male who resided at 625 31st

Avenue North, Apt. N-134, Columbus, Mississippi 39075 while employed with

Defendants. Plaintiff has since moved out of state.

       2.     Plaintiff, Aarti Zala, is an adult female who resided at 625 31st Avenue North,

Apt. N-134, Columbus, Mississippi 39075 while employed with Defendants. Plaintiff has

since moved out of state.

       3.     Defendant, Shri Hari Krupa, Inc., is a Mississippi corporation that may be

served through its registered agent: Jigar N. Patel, 625 31st Avenue North, Apt. I-75,

Columbus, Mississippi 39705.



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        4.    Defendant, Mitul Patel, individually, upon information and belief, is an

adult resident citizen of Lowndes County, Mississippi and may be served with process

at his place of employment: 2110 U.S. Hwy 45, Columbus, Mississippi 39701.

                              JURISDICTION AND VENUE

        5.    This Court has federal question jurisdiction for claims arising under the

FLSA.

        6.    Jurisdiction is proper in this Court as the claims are brought pursuant to the

FLSA to recover unpaid minimum wages, unpaid overtime wages, liquidated damages,

reasonable attorney’s fees and costs.

        7.    The Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C.§1337

and the FLSA, 29 U.S.C. § 216(b).

                                STATEMENT OF FACTS

        8.    Plaintiffs, Devda Dharmpalsinh and Aarti Zala, previously resided at 625

31st Avenue North, Apt. N-134, Columbus, Mississippi 39075 while employed with

Defendants.

        9.    Plaintiff Zala and her husband, Plaintiff Devda, were hired on November 1,

2020, as Sales Associates at Shri Hari Krupa, Inc. d/b/a Texaco which is located in

Columbus, Mississippi.

        10.   The Texaco store where Plaintiff Devda and Plaintiff Zala worked regularly

took in over $500,000 in annual revenue.

        11.   In their roles as Sales Associates at Texaco, Plaintiff Devda and Plaintiff

Zala functioned in all aspects of the store’s general functioning, e.g., working as front

desk workers, cashiers, stockers, and ordering inventory.



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       12.    Plaintiff Zala and her husband, both worked at the same Texaco location in

Columbus, Mississippi.

       13.    On Monday through Saturday, Plaintiff Devda worked from 6 a.m. to noon.

       14.    Then both Plaintiff Devda and Plaintiff Zala worked from noon to 3 p.m.

       15.    Then Plaintiff Zala worked by herself from 3 p.m. to 5 p.m.

       16.    Then Plaintiff Devda worked by himself from 5 p.m. to 11 p.m.

       17.    On Sundays, Plaintiff Devda worked 11 hours and Plaintiff Zala worked one

hour, i.e., the store was open from 8 a.m. to 8 p.m.

       18.    Plaintiff Devda, therefore, worked 101 hours per week and Plaintiff Devda

worked 31 hours per week.

       19.    Plaintiff Devda and Plaintiff Zala were paid collectively, in cash, $3,000 per

month.

       20.    On or around July 15, 2021, Owner Mitul Patel instructed Plaintiff Devda

and Plaintiff Zala to begin selling substances that are criminally illegal to sell over the

counter.

       21.    Specifically, Mr. Patel instructed Plaintiff Devda and Plaintiff Zala to begin

selling Kratom, K shots, Kratom, Delta 8, opms liquid, Green vein, viva Zen, marijuana

weed, Methamphetamine white powder drugs, opms gold pills & opms 3 count silver pills.

       22.    Selling these controlled substances violates one or more of the following

criminal statutes: sale of a controlled substance, trafficking, or conspiracy to sell a

controlled substance.

       23.    On January 16, 2022, Mr. Patel told Plaintiff Devda and Plaintiff Zala that if

they refused to sell the illegal substances in the store then they were terminated.



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       24.     Plaintiff Devda and Plaintiff Zala refused to sell these illegal substances, so

as of that day they were terminated.

       25.     On January 30, 2022, Plaintiff Devda filed a police report related to the

illegal substances Mr. Patel was selling in his Texaco stores.

                                   CAUSES OF ACTION

             COUNT I: VIOLATION OF THE FAIR LABOR STANDARDS ACT

       26.     Plaintiffs allege and incorporate all averments set forth in paragraphs 1

through 25 above as if fully incorporated herein.

       27.     Plaintiffs were non-exempt employees and subject to the provisions of the

Fair Labor Standards Act as it pertains to whether or not Plaintiffs were entitled to

minimum wages for the first forty (40) hours worked each work week and overtime pay

for all overtime hours worked.

       28.     The Fair Labor Standards Act requires that employees be paid a federally

mandated minimum wage and an overtime premium at a rate not less than one and one-

half (1 ½) times the regular rate at which they are employed for all hours in excess of forty

(40) hours in a work week. 29 U.S.C. § 207(a).

       29.     Plaintiffs have not been properly paid a minimum wage or overtime

compensation under the Fair Labor Standards Act at a rate of 1 ½ their regular rate of

pay.

       30.     The acts of the Defendants constitute a willful intentional violation of the Fair

Labor Standards Act and entitle Plaintiffs to liquidated damages and attorney fees.

                         COUNT II: WRONGFUL TERMINATION




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       31.    Plaintiffs re-allege and incorporate by reference all averments set forth in

paragraphs 1 through 30 above as if fully incorporated herein.

       32.    Defendant Patel instructed Plaintiff Devda and Plaintiff Zala to sell criminally

illegal drugs from his store

       33.    Plaintiff Devda and Plaintiff Zala knew that selling these substances violated

one or more of the following criminal statutes: sale of a controlled substance, trafficking,

or conspiracy to sell a controlled substance.

       34.    Defendant Patel told Plaintiff Devda and Plaintiff Zala that if they refused to

sell the illegal substances in the store then they were terminated.

       35.    Plaintiff Devda and Plaintiff Zala refused to commit a criminally illegal act by

selling these controlled substances, so they were terminated.

       36.    Plaintiff Devda and Plaintiff Zala have been harmed as a result of this

unlawful retaliation and wrongful termination, and the Defendants are liable to Plaintiff

Devda and Plaintiff Zala for the same.

       37.    The acts of the Defendants are in direct contradiction of Mississippi’s

public policy and constitute a willful and intentional violation of Mississippi statutory and

common law and constitute the tort of wrongful termination.

                                  PRAYER FOR RELIEF

       WHEREFORE PREMISES CONSIDERED, Plaintiff respectfully prays that upon

hearing of this matter by a jury, the Plaintiff be granted the following relief in an amount

to be determined by the jury:

       1.     Back wages and reinstatement; or
       2.     Future wages in lieu of reinstatement;
       3.     Compensatory damages;
       4.     Punitive damages;


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5.    Liquidated damages;
6.    Attorney's fees;
7.    Lost benefits;
8.    Pre-judgment and post-judgment interest;
9.    Costs and expenses; and
10.   Such further relief as is deemed just and proper.

THIS the 26th day of October 2022.

                                         Respectfully submitted,
                                         DHARMPALSINH DELVA and
                                         AARTI ZALA, Plaintiffs

                                     By: /s/Louis H. Watson, Jr.
                                         Louis H. Watson, Jr. (MB# 9053)
                                         Nick Norris (MB# 101574)
                                         Attorneys for Plaintiff




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